Case 1:19-cv-00578-JM$-RP Document 92-19 Filed 05/28/f1 Page 1of 4 PagelD.836

ACTS AND RESOLVES

OF

MASSACHUSETTS
1926.

EXHIBIT “R”
Case 1:19-cv-00578-JM¢-RT Document 92-19 Filed 05/28/f1 Page 2 of 4 PagelD.837

tw The General Court, which was chosen November 4, 192+, assembled
on Wednesday, the sixth day of January, 1926, for its second annual
session,

His Excellency Atvan T. Futver and His Honor Frank G. ALLEN con-
tinued to serve as Governor and Licutenant Governor, respectively, for the
political year of 1926.
Case 1:19-cv-00578-JM$¢-RT Document 92-19 Filed 05/28/fi Page 3 of 4 PagelD.838

Acrs, 1926.— Crar. 395. 485

be eredited hy the state treasurer to the cities and tewns of
the metropolitan parks district in the proportions in which
they annually pay money into the state treasury to meet
one half of the cost of maintenance of boulevards under
said section fifty-six, and the other half shall be credited by
him to the Highway Fund. Approved May 29, 1826,

An ACT REGULATING THE SALE, RENTAL AND LEASING OF Chap 395
CERTAIN FIREARMS AND PROHERITING LOANS OF MONEY °
THEREON.

Be tt enacted, ctc., as follows:

Section 1. Chapter one hundred and forty of the Gen- a. 1. 140, § 123,
eral Laws, as amended in section one hundred and twenty- t+ mended.
three by section four of chapter four hundred and eighty-five
of the acts of nineteen hundred and twenty-two and by sec-
tion one of chapter two hundred and eighty-four of the acts
of nineteen hundred and twenty-five, is hereby further
amended by striking out said section one hundred and
twenty-three and inserting in place thereof the following: —

Section 123. The license shall be expressed to be and shall Conditions of

. ° oe . liconaocs to roll,
be subject to the following conditions: First, That the pro- rent or lesso

visions in regard to the nuture of the license and the build- cain
ing in which the business may be carried on under it shall
he strictly adhered to. Second, That every licensee shall
before delivery of a firearm make or cause to be made a true
entry in a sales record book to be furnished by the licensing
authorities and to be kept for that purpose, specifying the
desuription of the firearm, the make, number, whether single
barrel, magazine, revolver, pin, rim or central fire, whether
sold, rented or leased, the date and hour of such delivery,
and shall, before delivery as aforesaid, require the pur-
chaser, renter or Jessee personally to write in said sates
record book his full name,*sex, residence and occupation.
The said book shill be open at all times to the inspection of
the licensing authorities and of the police. Third, That the
license or a copy thereof, certified by the recording oflicer of
the licensing authorities or by the clerk of the town by which
it is issued, shall be displayed on the premises in a position
where it can easily be read. Fourth, That no firearms shall
he displayed in any outer window of said premises or in any |
other place where they can readily be seen from the outside.
Fifth, That the licensee shall, once a week, send a copy of
the record of sales, rentals and leases made by him for the
preceding seven days to the licensing authorities and to the
commissioner of public safety. Sixth, That every firearm
shall be delivered securely wrapped and fastened and shall
be unloaded when delivered. Seventh, That no delivery of
a firearm shall be made on the day of application for the
purchase, rental or lease thercof, except to a person having
a license to carry a pistol or revolver issued under section
one hundred and thirty-one. Vighth, That no firearm shall
be sold, rented or leased to a person who has not a permit,
Case 1:19-cv-00578-JM$-RT Document 92-19 Filed 05/28/f1 Page 4 of 4 PagelD.839

486 Acris, 1926. — Cnar, 395.

Conditionsof then in foree, to purehase, rent or lease a pistol or revolver
Sivenses to nell,

rontorlenag issued under section one hundred and thirty-one A, Ninth,

certain firo- That upon a sale, rental or lease of a firearm, the licensce
under section one hundred and twenty-two shall take up
such permit and shall endorse upon it the time and place
of said sale, rental or lease, and shall forthwith transmit the
same to the commissioner of public safety. Tenth, That
the license shall be subject to forfeiture as provided in sec-
tion one hundred and twenty-five for breach of any of its
conditions, and that, if the licensee is convicted af a viola-
tion of any such condition, his license shall thereupon
become void.

Govaeiaie «= SECTION 2, Section one hundred and twenty-cight of
said chapter one hundred and forty, as amended by section
two of said chapter two hundred and eighty-four, is hereby
further amended by striking out, in the fourth line, the
words “or sixth’ and inserting in place thereof the words:
—, sixth, seventh, cighth or ninth, — so as to read as follows:

voltenest = Section 128. Any licensee under a license described in
gondibions of section one hundred and twenty-three, and any employce or
liconaces and = agent of such a licensee, who violates any provision of said
for selling. 24 section required to be expressed in the second, fourth, sixth,
outa ticons, seventh, cighth or ninth condition of said license, and any
person who, without being licensed as hereinbefore pro-
vided, sells, rents or leases, or exposes for sale, rental or
lease, or has in his possession with intent to sell, rent or lease,
® firearm, shall be punished by imprisonment for not less
than six months nor more than two years.

GL. Mio Secrion 3. Said chapter one hundred and forty i: hereby
after § 131, further amended by inserting after section one hundred and
Permits to

purchise, rent thirty-one the two following new sections: — Section 131A.
OF leuso certain A licensing authority under the preceding section, upon the
ingtocertain. application of a person qualified to be granted a license
persons. thereunder by such authority, may grant to such a person,
other than a minor, a permit to purchase, rent or lease a
pistol or revolver if it appears that such purchase, rental or
lense is for a proper purpose, and may revoke such permit at
Vorme, tg, Will. Such permits shall he issued on forms furnished by the
‘ commissioner of public safety, shall be valid for not more
Cony to com- than ten days after issuc, and a copy of every such permit
public safety. so issued shali within one week thereafter be sent to the
Ponalty. said commissioner. Whoever issues a permit in violation of
this section shall be punished by imprisonment for not less
than six months nor more than two years in a jail or house
of correction.
Tonns of Section 131B. Whoever loans money secured by mortgage,
certain firearms (eposit or pledge of a pistol or revolver shall be punished by
prohibited. ° .
a fine of not more than five hundred dollars or by imprison-
ment for not more than one year, or by both.
Approved May 29, 1926.
